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                           IN THE UNITED STATES DISTRICT couiiT                                                "




                               FOR Tm: DISTRICT OF MARYLAND
                                       Southern ()i\'ision
                                                                                   1011 DEC 20 A II:         III

                                                             *
CIIIUSTOPHER           THOMAS,          III   al.•
                                                             *
         Plaintiff,
                                                             *
v.                                                                    Case No.: G.III-I7-17J9
                                                             *
STATE OF MARYLAND,                III   al.,
                                                             *
         Defendants.
                                                             *
*        *       *        *        *                 *   *       *    *        *       *         *       *

                                          MEMORANDUM             OPINION

        Christopher Thomas and Alexandra Curbelo ("Plaintiffs") allege constitutional and state

law tOl1violations against a number of entities within the State of Maryland. including Anne

Arundel County. Prince George's County. Howard County. associated pol icc depar1ments.

county cxecutives. police chiefs. and 28 individual police officers (collectively. "Defendants").'

The Complaint arises out of a purported high-speed pursuit on Route 295 that ended in Plaintirts'

arrest. ECF NO.2. Presently pending before the COUl1are motions to dismiss from defendants

Anne Arundel County. ECF Nos. 30. 3 1.35. IIowaI'd County. lOCI'No. 29. Prince George's

County. ECF No. 36. and the State of Maryland. ECF No. 49. and the State of Maryland's

Motion to Strike PlaintitTs Opposition. ECF No. 56. No hearing is necessary to adjudicate the

motions. Loc. R. 105.6 (D. Md. 2016). For the following reasons. the State of Maryland's




I Following submission of the motions to dismiss by the County Defendants. Plaintiffs conceded to dismissal of

Prince George's Coullty. the Howard County Police Department. the Anne Arundel County Police Department.
Howard County Executive Allan Kittleman. and Anne Arundel County Executive Steven Schull. ECF No, 49 at 5.
As such. these defendants are dismissed and the Court need not consider Defendants' motions in SUPP0I1 thereof.
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motions arc granted. Anne Arundel and Howard Counties'                       motions arc granted. in part. and

denied. in part. and Prince George's          County's    motion is denied as moot.

I.         BACKGROUND
                                          ,
           A. Factual Background"

           On June 3. 2014. police officers employed               by the State of Maryland.          Anne Arundel

County. and/or Howard County initiated pursuit of a speeding vehicle on Route 295. going

through Prince George's         County. Anne Arundel County. and ultimatcly                     stopping     in lloward

County. Maryland.         ECF No. 2 ~~ 36-37.       Plaintiff Thomas operated the vehicle and Plaintiff

Curbelo was a passenger.         Upon stopping the vehicle. and in compliance                   with police orders.

Thomas exited the vehicle and laid face down on the ground in anticipation                            of arrest.    !d '139.

While on the ground. an unidentified           police officer placed Thomas'             hands behind his back. !d              'i
40. and additional      of1icers punched and kicked Thomas repeatedly                   as he lay helpless on the

ground. !d ~141. Prior to Thomas being handcuffed                    and arrested. but while on the ground and

subdued.      Of1icer Jeffery Rothenbecker        instructed       a police canine to maul Thomas.             !d   'I~i42-43.
46. Thereafter.      Officer Jeremy Duncan employed                a Taser gun on Thomas.         Id. ~ 44. Plaintiffs

maintain     that at all times following      the police stop. Thomas was acting in full compliance                      with

police orders. "demonstrated         no acts of restraint or unwillingness             to cooperate      with police:'     and

made no movements           that could cause a reasonable           officer to feci threatened.        !d ~ 45. Following

Thomas'      arrest. Plaintiff Curbelo exited the vehicle from the front passenger                     door in compliance

with police orders. Id. ~ 49. Upon exit. an unidentified                police officer grabbed Curbelo and

"hurled her body over a guardrail directly adjacent to the vehicle:'                    Id.   '149.
           Once in custody.     Plaintiffs were transported          to the Anne Arundel County Medical Center

for treatment.     Id. ~ 51. PlaintifTs note that in response          to a question     from a nurse as to why



2   Unless stated otherwise. the facts arc taken from the Complaint and assumed to be true.
                                                               2
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Thomas "was beaten so badly:' an unidentilied officer commented that "he shouldn't have ran:'

Id ~ 52. Further. Plaintiffs allcge that while Thomas was receiving treatment. an unidcntified

officer was rclicvcd of his duties by a superior. whereby the superior officer stat cd that hc would

..take care ufthe police report" and that the relieved ofticer would not need ..to worry about it:'

Id    '1'; 56-57.
           As a result ufthe arrcst. Thomas suffercd bruising to his body and l(lce and lacerations

intlicted by the police canine. including a large gash on his lower back. Id '161. In addition.

Plaintiffs allege that while in custody. Thomas received inadequate medicallrcatment.          resulting

in pemlanent injuries including sciatic nerve damage and scarring. It!. ~~ 53-55. 61. Plaintiffs

also allege that Thomas continues to suffer from severe emotional distress. including "major

depression. trouble concentrating. recurring nightmares. distress as a result of permanent injuries

to his person. and extreme anxiety:' It!. '162. Curbelo's physical injuries included bruises and

cuts to her body. and she continues to sufTer 1i'0I11 severe emotionaf distress. including "major

depression. crying spells. poor concentration. sleep disturbance. appetite disturbance. poor

energy. and fleeing suicidal ideations:" It!. ~~ 59. 60.

           B. Proccdunll Background

           Plaintiffs filed the instant action in the Circuit Court for Prince George's County on May

26.2017 and bring the following claims: Assault (Count I); Battery (Count II): Excessive Force.

42 U.S.c.     S     1983 (Count Ill); Negligence (Count IV): Conspiracy to Interfere with Civil Rights.

42 U.S.c.      S    1985(3) (Count V): Monell Allegations. 42 U.S.C.   S   1983 (Count VI): Violation of

Article 24 of the Maryland Declaration of Rights (Count VII); Equal Protection. 42 U.S.c.

S    1983 (Count VlIl): Negligent Supervision and Training (Count IX): and Intentional Intliction

of Emotional Distress (Count X). ECF NO.2.




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         Prior to filing the Complaint. Plaintiffs sent a Notice of Claim to the County Delendants

on December 1.2014. !d 'i,\31-33. PlaintilTs sent a Notice of Claim to the Maryland State

Treasurer in accordance with ~ 12-107(a) of the Maryland Tort Claims Act (""MTCA") on June

1.2015. Id. ~ 34. Following removal to this Court. Defendant Rothenbecker Iilcd an answer.

ECI' No. 32. and Defendants Howard County. Anne Arundel County. and Prince George's

County liled motions to dismiss on behalf of the counties. county executives. police chie[,.

police departments. and individual police ofticers. See ECF Nos. 29. 30. 31. 35. 36.3 On October

10.2017. the Court denied Plaintiffs' Combined Motion to Amend the Complaint and Remand to

State Court. ECI' No. 39. See ECF No. 44. Therealier. the State of Maryland filed a Motion to

Dismiss. ECI' No. 45. and Plaintiffs filed responses to all motions to dismiss by the County

Defendants. ECI' No. 49. and the State of Maryland. ECF No. 51. I'inally. the State of Maryland

moved to strike Plaintiffs Response to its Motion to Dismiss. ECI' No. 56.

II.      STANDARD OF REVIEW

         Defendants may "test the adequacy of a complaint by way of a motion to dismiss under

Rule 12(b)(6):' Prelich \'. Aled. Res.. Inc.. 813 F. Supp. 2d 654. 660 (D. Md. 2011) (citing

German    1'.   Fox. 2671'. App'x 231. 233 (4th Cir. 2008)). Motions to dismiss for lailure to state a

claim do "not resolve contests surrounding the lacts. the merits of a claim. or the applicability of

defenses." Prelich. 813 F. Supp. 2d at 660 (citing Edward.,. 1'. Cify (I/Goldsboro. 17S F.3d 23 I.

243 (4th Cir. 1999)). To overcome a Rule 12(b)(6) motion. a complaint must allege enough f~lctS

to state a plausible claim fl)r relief. Ashcnjji \'. Iqbal. 556 U.S. 662. 678 (2009). A claim is




 ~ While Rothenbecker. an Anne Arundel County police officer, sets forth affirmative defenses similar to arguments
 presented in the various motions to dismiss. Defendant Anne Arundel Coullty indicates that Rothenbecker does not
join its Motion to Dismiss at this time. ECF No. 35-1 at 5 n. 7. On December 4.2017. Duncan tiled all Answer with
similar affirmative defenses but does not join any oflhe motions to dismiss presently pending before the Court. ECF
 NO.61


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plausible when "the plaintilTpleads factual content that allows the Court to draw the reasonable

inference that the delendant is liable for the misconduct alleged:' Id.

        In evaluating the sufficiency of Plaintiffs' claims, the Court accepts f~letualallegations in

the complaint as true and construes the 1~ICllIaI
                                                allegations in thc light most f~1Vorableto the

Plaintiff. See Albri~ht v. Oliver, 510 U.S. 266. 268 (1994): Lall/beth \'. 1M o{COII/II/      '1'.\'   oj"

Dal'idso/1 Oy.. 407 F.3d 266. 268 (4th Cir. 2005). However. the complaint must contain morc

than "legal conclusions. elements of a cause of action. and bare assertions devoid of further

factual enhancement:'   Nell/et Chevrolet, Lid v, CO/1slII/1era[{airs.colI/, l/1c.. 591 F.3d 250. 255

(4th Cir. 2009). The C011l1should not grant a motion to dismiss for failure to state a claim for

relief unless "it is clear that no relief could be granted under any set of facts that could be proved

consistent with the allegations:'   GE 1/11'.Pril'l/te Placell/e/1tPartners   II \', Parker. 247 F.3d 543.

548 (4th Cir. 2001) (citing 11..1.Inc. v. Northwestern     Bell Tel. Co .. 492 U.S. 229. 249-50 (1989)).

III.    DISCUSSION

        Plaintiffs appear to bring each individual state tort and constitutional claim against all

Defendants collectively. irrespective of the individual delendant's status as a municipality. state

entity. supervisor. or individual police officer. l3ecause certain claims are dependent upon the

status of the individual defendant. the Court will first address claims that do not state a claim for

relief irrespective of the individual delendant and will then evaluate the remaining claims based

on the status of the individual delendant.

        A. Assault (Count I)

        In Maryland. assault claims arc subject to a one year statute of limitations. See Md. Code.

Cts. & Jud. Proc .. ~ 5-105. Accordingly. Plaintiffs' assault claim expired on or about June 4.

2015. almost two years prior to tiling the instant action. Plaintiffs acknowledge that Curbelo's

claim is time barred but argue that the Court should toll Thomas' limitations period because he

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was incarcerated in Connecticut during that time. See ECI' No. 49 at 134 To receive equitable

tolling. Plaintiffs bear the burden of proving that Thomas has diligently pursued his rights and

some extraordinary circumstance beyond his control stood in his way. preventing timely liling.

Uniled Slales   I'.   Sosa. 364 F.3d 507. 512 (4th Cir. 2004). However. no sueh extraordinarv

circumstances exist. See. e.g, Downes         I'.   Carroll. 348 F. Supp. 2d 296. 303 (D. Del. 2004)

(noting that incarceration in another state is not an extraordinary circumstance justifying

equitable tolling for petition under 28 U.S.c.          * 2254). Plaintiffs tail to show that Thomas'
incarceration. alone. qualities as an extraordinary circumstance justifying equitable tolling or that

Thomas diligently pursued his claim while incarcerated or upon rclease. Moreover. Plaintiffs'

counsel represented Thomas immediately following his arrest and pursued Plaintiffs' state law

tort claims against the County Defendants while Thomas was incarcerated. See Eel' No. 2 ~~

31-33. As such. Plaintiffs do not establish that Thomas diligently pursued his claim. Plaintiffs'

assault claim is time barred and therefore dismissed.

         B. Intentional      Infliction of Emotional       Distress (Count X)

        To state a common law claim for Intentional Infliction of Emotional Distress ("IIED").

Plaintiffs must allege that: "(1) the defendant's conduct was intentional or reckless: (2) the

conduct was extreme and outrageous: (3) there was a causal connection between the wrongful

conduct and the emotional distress: and (4) that the emotional distress was severe." Ilarri.\' I'.

Jones, 281 Md. 560. 566 (1977). The lort of liED "is to be used sparingly and only IlJr

opprobrious behavior that includes truly outrageous conduct .. ,. Williams                l'.   Prince George's

emy .. 112 Md. ApI'. 526. 555 (1996) (quoting Balson             I'.   Shif/ell. 325 Md. 684. 734-35 (1992».

Accordingly. an lIED claim is subject to a heightened pleading standard. and each clement of the

claim must be "pled with specificity." Washinglon \'. Maynard. No. GLR-13-3767. 2016 WL

~ Pin cites to documents filed on the Court's electronic filing system (CM/ECF) refer to the page numbers generated
by that system.
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865359. at *10 (D. Md. Mar. 7. 2016) (citing Fool'\' . .JuI'ellile Ser\'s. Adl/lill.. 552 A.2d 947. 959

(Md. Ct. Spec. App. 1989»

        Defendants argue that Plaintiffs' liED claim docs not meet the second and lourth prongs

of the tort. see. e.g.. ECF Nos. 29.1 at 17: 35.1 at 10, and that use of lorce to make an arrest

during a "felony stop" is not extreme and outrageous. See ECF No. 29.1 (citing A4uIlyiri \'.

Haduch. 585 F. Supp. 2d 670. 677 (D. Md. 2008). While the right to make an arrest "carries

with it the right to use the amount of force that a reasonable ofticer would think necessary"

iv/ullyiri. 585 F. Supp. 2d at 677 (citing Marlill\'. Gelllile. 849 F.2d 863. 869 (4th Cir.1988)).

Plaintiffs allege that when they were mauled. tased. and/or thrown over a guardrail. they were

complying with ofticers' instructions. and in the case of Thomas. under the officers' control.

ECF No. 2 'i~
            119. 121. While discovery and/or trial may prove that the officers' conduct was

reasonablc. the Court has no basis to find that. as alleged. such conduct did not "go beyond all

possible bounds of decency. and [should] be regarded as atrocious. and utterly intolerable in a

civilized community"    Harris. 281 Md. at 567 (internal citation omitted).

        Next. Defendants' argue that Plaintiffs have not "alleged the kind of severe emotional

distress envisioned by the Maryland Court of Appeals as a necessary predicate to a claim for

intentional infliction of emotional distress" ECF No. 35.1. To succeed on a claim of liED.

Plaintiffs must show that they "suffered a severely disabling emotional response to the

defendant's conduct:' and that the distress was so severe that "no reasonable man could be

expected to endure it," Thacker \'. Cily of Hyall.\Tille. 135 Md. App. 268. 315 (citing Harris. 281

Md. at 570-71): see also Bryant \'. Beller Busilless Bureau (!f Grealer AId.. Illc.. 923 F.Supp.

720,750 (D. Md. 1996) (plaintiffs only entitled to relief when the "emotional distress is so

severe as to have disrupted [plaintiffs] ability to function on a daily basis,").




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         Here. Plaintiffs'      claims of emotional        distress arc conclusory-Plaintiffs             make no

allegations    that they sought medical treatment            fiJr their distress or that their distress has impacted

their lives in a meaningful          and particularized     way. See Kam \'. I'TS ojAmerica,              LLC No, G.lH-

16-326 I. 2017 WL 416225 I. at              * 5 (0, Md,   Sept. 19. 2017) (finding that plainti IT lailed to show a

severely disabling       condition     when plaintiff has not alleged that he required psychological

treatment.    was hospitalized        for mental anguish. or that he was no longer able to work or function

nonnally):     Rohinson \" ell/chin. 140 F, Supp, 2d 488. 494 (D, Md. 2001) (no severely disabling

emotional     response      when plaintiffwas        not treated by a physician or hospitalized             because of her

emotional     condition).     As sueh. Plaintiffs'      liED claim fails to meet the high burden imposed by

Maryland      eourts that their emotional         distress be severe and is there lore dismissed.              Manikhi \'.

Mass Transi/ Admin .. 360 Md. 333. 368-69 (2000).

      , C. Equall'roteetion,  42 U.S.c. ~ 1983 (Count VIII) and Conspiracy                                 to Interfere
           with Civil Rights, 42 U.S.c. ~ 1985(3) (Count V)

         To succeed on an equal protection              claim. Plaintiffs must allege facts sufficient                to

demonstrate      that. as a result of purposeful        or intentional    discrimination.    they were treated

differently    than other similarly         situated individuals.     Veney \', W\'che. 293 F.3d 726. 731 (4th Cir.

2002). Plaintiffs'     claim I~lils on its face because Plaintiffs have not alleged that they are in a

protected     class. Nor have Plaintiffs alleged any acts of discrimination.                See   1.)'1111 \', ()    'Lew}'. 264

F. Supp, 2d 306. 311 (D, Md. 2003) (dismissing                  equal protection    claim where the plaintiff f~liled

to plead allegations        of discriminatory      purpose or motive), In response to the motions to dismiss,

Plaintiffs    argue that Thomas.        "a person assumed to have committed             a criminal act. was treatcd

difTerently than other pcrsons similarly situated:'                 and Curbelo. "a mere passenger            in a vchicle

being driven on a highway.            was treated differently        than other persons similarly situated:'               ECF

No. 49 at 19. and contend the Court should infer that Plaintiffs are members                         of a "c1ass of one"

even though Plaintiffs'         protected     status was not expressly      alleged in thc Complaint.               Id. (citing
                                                               8
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Willoll'brook \'. OIech. 528 U.S. 562.565 (2000)). Such an inference does not arise from the

allegations in the Complaint. While Plaintiffs' Complaint alleges facts to suggest that they were

subject to abusive treatment. the Complaint alleges no tllcts to suggest that they were subject to

di.\jJarale treatment.

        Similarly. to state a viable claim for conspiracy under 42 U.S.c.         S   1985(3). Plaintiffs

must show: "(I) a conspiracy of two or more persons. (2) who are motivated by a specilic c1ass-

based. invidiously discriminatory animus to (3) deprive the plaintilTofthe            equal enjoyment of

rights secured by the law to all. (4) and which results in injury to the plaintiffas (5) a

consequence of an overt act committed by the defendants in connection with the conspiracy:' II

Sociely Wilholl! A Nallle   1'.   Virginia. 655 ['.3d 342. 346 (4th Cir. 201 I) (citing Sillllllons   1'.   Poe.

47 F.3d 1370. 1376 (4th Cir. 1995)). At the outset. because there has not been an allegation ofa

specilic class-based discriminatory animus. the claims for conspiracy under             S   1985(3) must also

fail. Sillllllons. 47 r.3d at 1376.

        Separate from whether an underlying constitutional violation occurred. Plaintiffs' also

fail to adequately plead any conspiracy or associated overt act. "[MJerely conclusory allegations

of conspiracy. unsupported by a factual showing of participation in a joint plan of action. are

insufficient to support a section 1985(3) action:' !d. While Plaintiffs allege that various unnamed

ofticers engaged in a conspiracy to use excessive force. not report officers using excessive lorce.

and falsify police reports. ECr No. 2 ~ 95. the only factual allegation supporting the claim is that

an unnamed supervisor told a subordinate officer that he would ..take care of the police report."

Id. ~ 57. Moreover. the Complaint is devoid of any facts suggesting that any police reports were

in fact falsi lied. Such ..[tJhreadbare recitals of the elements ofa cause of action. supported by

mere eonclusory statements:' are insufficient to support Plaintiffs' conspiracy claim. See Iqbal.

556 U.S. at 678. Counts VIII and V are dismissed as to all Defendants.

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        I). Claims Against Individual        Police Officers

        Plaintiffs bring their claims against 28 individual police officer but only allegc litcts

related to the actual conduct of two officers. Rothenbecker and Duncan. Sec ECF No. ~~ 42. 44

(alleging Rothenbecker as responsible tor the use of the police canine and Duncan fClruse of the

Taser). As clarified by Defendants. Rothenbecker is currently a police officer with the Anne

Arundel County Police Department. and Duncan is a former police officer with the Iloward

County Police Department. ECF No. 29-1 at I. Neither of the two joins any of the motions to

dismiss herein.

                  I.   Intentional Torts :lIld Constitutional     Violations (Counts I, II, III, V, VI,
                       VII, VIII, X)

        Defendants argue that Plaintiffs. in "Iump[ing] togcther the patrol officer defendants:'

cannot attribute any specifie conduct to the remaining individual officers and therelilre fail to

plead facts to "allow the court to draw the reasonable inferences that Ihe de/el1llanl is liable tor

the misconduct alleged:' Sce ECF No. 29-1 at 9 (citing Iqhal. 556 U.S. at 678) (emphasis in ECF

No. 29-1); see also Vinnedge v. Gihbs. 550 F.2d 926. 928-29 (4th Cir. 1977) (noting that tor

* 1983 claims. plaintifTs must allege a "personal connection"        between each individual defendant

and the violation of a constitutional right). In opposition to the motions to dismiss. PlaintifTs

indicate that subsequent to removal. they have been able to "ascertain with greater specificity as

to which officers were involved in the direct brutalization of PlaintifTs. which ollicers failed to

intervene to prevent the brutalization to Plaintiffs. and the supervising officers who are believed

to have been involved with the remaining accusations:'          ECF No. 49 at 8. However. Plaintiffs

have not moved to amend their Complaint based on this infon11ation. and the allegations as set

forth in their Complaint fail to provide enough specificity to put the individual officers on

sufficient notice of the possible claims against them.


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        Plaintiffs argue that attributing all claims to all 18 individual police officcrs through

"group plcading" is sufficient to state a plausible claim for rclief in advance of discovery. ECF

No. 49 at 9. In support of thcir argumcnts. Plaintiffs cite to J. A. \'. Mil'llnda, No. PX- I6-3953.

1017 WL 3840026, at *3 (D. Md. September L 2017) where the Court notcd that "Rule 8(a) is

not so rigid that it requircs a plaintill without the benelit of discovery. to eonncet every single

alleged instance of misconduct in the complaint to cvcry single specific officer." But unlike the

defendant otliccrs in J\Jil'llnda, Plaintiffs arc unable to identify evcn a limitcd group of ofliccrs

actually responsiblc lor the alleged harms. Rathcr, Plaintiffs seemingly list cvery possiblc officcr

they can find. potentially including otlicers that were not present on thc sccne or omitting others

that were. Such an approach falls short of that which is required to overcome a motion to

dismiss. See Proc/or   I'.   ,\Je/ro. Mone)' S/ore Corp .. 579 F. Supp. 2d 724. 744 (D. Md. 1008) ("At

worst. the repeated rcfrain that all three individuals committed each and every act must be read

as an allegation that onc of the three did each act. an assertion that amounts to speculation and

which is defieient under Tll'ombl)'. ").

        Regardless, even if PlaintitlS were able to assign specific names responsible for thesc

alleged "brutalizations,"     Plaintiffs only allege vague and conclusory statements supporting

claims of battery and excessive force against all otlicers othcr than Rothenbecker and Duncan.

See Calho/ln \'. Prince George '.\'CO/ln/)'. Md .. No. DKC- I2-2014, 2013 WL 2873214. at *3 (D.

Md. July 24. 2013) (dismissing excessive lorce claim where complaint fails to di fferentiate

amongst three individual officers and merely alleges that plaintiff was "beatcn about thc head,

body. and limbs"); see also Dale \'. Ma)'or, No. WDG-14-2152, 2015 WL 5521815, at *9 (D.

Md. Sept 15.2015) (dismissing battery claims because "complaint does not identify which of the

many police otlieers in the complaint committed these alleged batteries. when they occurred. or




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how they oceun-ed"),' Therefore, Counts I, II. III. V, VI. VII. VIII. and X are dismissed as to all

individual police ofticers other than Rothenbecker and Duncan,

                   2. Negligence Torts (Counts IV and IX)

         Public ofticials, including police ofticers, arc protected by common law immunity from

liability for tortious conduct that occurred while performing discretionary acts within the scope

of his or her ot1icial duties. See Hough/on v. FOrl'e.l'/,412 Md. 578. 585 (20 10) (noting that an

arrest by a police ofticer is a discretionary act within the scope of his or her official duties). For

negligence torts, County police ofticers are also protected by statutory immunity pursuant to ~ 5-

507(b) of the Courts and Judicial Proceedings Article of the Maryland Code. See Lm'e/ace \',

Anderson. 366 Md. 690. 704 (2001) (noting that this provision codifies existing public ofticial

immunity under common law): see a/so Ilough/on. 412 Md. at 586 (common law public

immunity does not apply to intentional torts), As such. Counts IV and IX must be dismissed as to

all individual police oftieers other than Rothenbecker and Duncan.1>

         E. Claims Against County Defendants

                   I. State Tort Claims (Counts I, II, IV, IX, X)

         County Defendants enjoy immunity from tort liability arising out of functions

characterized as "governmental:'          such as running and supervising a police department.                Naill I'.


Mon/golllel)'    COUl1ly,   127 Md. ApI'. 172, 182-84 (1999) (also noting that the Local Government

Tort Claims Act does not provide a waiver of governmental immunity for tortious acts of a


5 Plaintiffs also Hlil to allege any specific injuries sustained from Anne Arundel County Police Orficer Ilclicoptcr
Pilot "John Doe:" and the Complaint offers no suggestion as to how a helicopter pilot could have contributed to any
or the alleged harms. See ECF NO.2 23. Moreover. Maryland docs not authorize pleadings against lictitiolls
persons. lly'am l'. A/on/}!,ome/:\, County. 127 Md. App. 172. 185 (1999).
b Plaintiffs attempt to re-classi fy their negligence claims as "a cause of action for gross negligence or f()r torts
committed with malice" in an etlort to bypass public official immunity. ECF No. 49 at 11-12. However. PlaintifTs
have not indicated how such claims are dilTerent from the intcntional torts and constitutional      violations otherwise
alleged, and the Court will not construc the Complaint to include these additional claims. See .Iei/rie.\' \', Waf-I\lar!
Stores E.. LI', No. GJII-15-473. 2016 WL 430479, at *4 (D. Md. Feb. 3, 2016) (quoting Zachair Lid. l'. Driggs, 965
F.Supp. 741. 748 n. 4 (D. Md. 1997) ("[AJ plaintiff 'cannot. through the use of motion briefs. amend the
complaint. "').
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county's agents or employces); see also Clark v. Prince George's C/1/y.. 211 Md. App. 548. 558-

59 (2013) (holding that county could not bc sued for common law tort liability. including torts of

negligent hiring. retention. or entrustment. arising out of actions of defendant police oflicer).

Moreover. there can be no respondeal SIIperior liability for the intentional malicious conduct of

individual employees. including liED. because such lorts "can never be considered to havc becn

donc in the furtherance of the beneticent purposcs" of the County Defendants. See Jallles ".

Frederick Counly Puhlic Schools. 441              r. Supp.   2d 755. 760-761 (citing Hunler v. Board oj'

Educ. 1!j'Molllgolllel)' Counly. 292 Md. 481. 491 n.8 (1982». Theretlwe. Plaintitfs state tort

claims against County Defendants fail.7

                   2. Constitutional        Claims (Counts III, V, VII, VII)

         Similar to the intentional malicious conduct of individual employees. there is no doctrine

of re,\jJOIlIlealsuperior in ~ 1983 actions. and the County Defendants cannot bc liable for the

alleged constitutional violations of their police oflicers. See MOllell v. Depl. o(Social Sen'ices oj'

Cily 1!j'Nell' York. 436 U.S. 658. 691 (1978) ("we conclude that a municipality cannot be held

liable solely becausc it employs a tortfeasor--or.              in other words. a municipality cannot be held

liable under ~ 1983 on a respondeal superior theory"). County Defendants arc only subject to

liability if Plainti ffs' constitutional violations were the result of an unconstitutional policy.

practice. or custom employed by the County Detendants. See MOllell. 436 U.S. at 690-91.




7 While Plaintiffs concede dismissal    of all claims against the County Executives and police departments. Plaintiffs
do not concede dismissal of any claims against II00vard County Police Chief Gary Gardner and Anne Arundel
County Police Chief Timothy Altomare. However. Plaintiffs do not allege any affirmative conduct of the police
chiefs and fail to state a claim against them in their individual capacities. See jJalt;more City Police IJi!P" l'.
Cherkes. 140 Md. App. 282. 333-34 (2001): see alsa Sha1l' v. Strolld. 13 F.3d 791. 799 (4th Cir. 1994) (supervisor
liability requires a showing that the supervisor was deliberately indifferent to the constitutional violations). To the
extent that the police chiefs arc sued in their official capacities. these claims arc duplicative with the claims against
the County Defendants and will suffer the same fate. See Kel11l1cky\'. Graham. 473 U.S. 159. 165-66 (1985) (citing
,\lonel/, 436 U.S. at 690 n.5 (an official capacity suit against a govcl11lllcnt official is effectively a suit against the
government entity itself).
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        To establish this associated Monell claim. Plaintiffs must "(I) identify the specific policy

or custom at issue: (2) fairly attribute the policy and lault for its creation to the municipality: and

(3) prove the necessary aftirmative link between the identified policy or custom and specific

violation:' Spell v. McDaniel, 824 F.2d 1380, 1389 (4th Cir. 1987). Plaintiffs assert a litany of

allegedly unconstitutional practices by County Defendants. ECF No. 2 ~~ 100a-n. but have not

alleged any facts to suggest that such practices were created by. supported by. or evident to the

County Defendants. At best. Plaintiffs have pled an isolated incident potentially giving rise to a

constitutional violation. See L({Ii/lml v. Prince GeorKe's Cnly .. J 99 F. Supp. 2d 297. 305 (D. Md.

2002) (dismissing Monell claim where plaintifr"provided       no allegations. except those

surrounding his own arrest or injury"). But mere eonclusory statements that police ofticers were

acting pursuant to such policies. or that such policies even exist. arc insufticient to support

municipal liability under Monell. See Lee \'. () 'Malley. 533 F. Supp. 2d 548. 553 (D. Md. 2007):

see also /vlilligan v. Cily o/Ne\l'Porl News. 743 F.2d 227. 229-30 (4th Cir. 1984) ("[AJ

municipal policy or custom giving rise to   * 1983 liability will not be inferred merely Ii'om
municipal inaction in the face of isolated constitutional deprivations by municipal employees.").

As such. Plaintiffs do not have a viable claim under    * 1983 against County Defendants.
                3. Article 24 Claim (Count VII)

        In asserting their claim under Article 24 of the Maryland Declaration ofrighls. Plaintiffs

reiterate the same allegations made in support of their claims under the U.S. Constitution. See

ECF No. 2 ~~105-108. Such claims arc identical as Article 24 is read in pari maleria to the

Fourteenth Amendment. Williams. 112 Md. App. at 548: sec also 0I01'({\'. Ilarper. 360 Md. 161.

203-205 (2000) (noting that equal protection claims arc impliedly guaranteed through Article 24

and that excessive force claims brought under Article 24 or Article 26 arc judged under the

Fourth Amendment's "reasonableness standard"). Because Plaintiffs have not brought viable

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equal protection,     conspiracy,     or Monell claims pursuant to ~ 1983 and ~ 1985(3), such claims are

not viable under Article 24.

           However,    unlike PlaintifTs' ~ 1983 claims, a local government                can be held liable for the

State Constitutional      torts of its employees.        See Di Pilla ,'. Doris, 354 Md. 18, 51-52 (1999) ("We

shall now dispcl any doubt in the matter and make clear. as a matter of common                          law, that local

governmental       entities do, indeed, have respolldeal superior liability lor civil damages                 resulting

from State Constitutional         violations   committed     by their agents and employees           within the scope

of the employment."):       see also ECF No. 29-1 at 20 (citing As!lloll \'. Browll, 339 Md. 70, 112

(1995) (Defendants       acknowledging         re.\jJondeal superior liability for State Constitutional

violations )).

           County Defendants        argue that because Plaintiffs       fail to identify a county actor "who

purportedly      used excessive     force in arresting     them:'   Plaintiffs'    AI1icle 24 claim must fail. ECF

No. 29-1 at 19: ECF No. 54 at 3. While true for the individual                    ofticers who havc joined the

motions to dismiss submitted          by the County Defendants.           Plaintiffs'   excessive    force claim against

Rothenbecker       and Duncan, who were employed              by the County Defendants          at the time of the

subject arrest. remain. Thercforc,         Plaintiffs'    Article 24 claim against the County Defendants,             as

related to the alleged use of excessive          force by Rothenbecker            and Duncan, cannot be dismissed

at this time.

           F. Claims Against the State of Maryland

           Finally. Plaintiffs    bring their claims against the State of Maryland,            including the

Maryland      State Police ("MSP"),       Governor       Larry Ilogan. Secretary        of the Maryland    State Police

Col. William Pallozzi. and three individual              Maryland    State Police Officers.s        Because Plaintiffs



R   The individual MSP officers listed have not been served and are not. nor ever werc. MSP employees. ECF No. 45-
1 at II. While Plaintiffs argue that they have obtained police reports and radio logs "demonstrating that Maryland
State Police officers \\-'ere involved with the underlying chase and that at least one Maryland State Police Officer
                                                             15
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havc not allcgcd any spccific acts or omissions by the State of Maryland. or any of its

employees. Plaintiffs claims must bc dismissed. Thc claims cannot survivc for a numbcr of

additional reasons. as set forth bclow.

          First. the Statc of Maryland itself is immune from suit in fedcral court undcr thc Elcvcnth

Amcndment. U,S, Cons!. amend. XI. "Thc ultimatc guarantee of thc Elevcnth Amcndmcnt is that

nonconsenting States may not be sued by privatc individuals in fedcral court:' Board oj'7"lIslees

(!t' University a/Alahal/1a v, Garrell. 531 U.S. 356. 363 (200 I), The Statc of Maryland has

expressly waived its sovereign immunity as to tort actions in slale court subjcct to ccrtain

conditions set forth in the MTCA. See MD Code. State Gov!..               S   12-104. See also Pennhllrsl Stale

School & HO,ljJ.1', Halderl/1an. 465 U.S. 89. 99 n,9 (1984) ("a State's waivcr of sovercign

immunity in its own courts is not a waiver ofthc Elevcnth Amcndment immunity in the fedcral

courts"). As such. Maryland's waiver of sovcrcign immunity docs not apply in this case.

          Second. Plaintiffs have not complied with the requircments ofthc MTCA nccessary to

bring their tort claims in statc court. At thc time of Plaintiffs' arres!. on June 3. 2014. thc MTCA

provided that a claimant may not institute a tort action against thc State unlcss thc claimant

submits a writtcn claim to thc Trcasurer within onc year aftcr the injury occulTcd. See MD Codc.

Statc Gov!.   S   12-106(b)(I) (1995): see also Condoll v, Slale. 332 Md. 481. 485-86 (1993) ("Thc

Maryland Tort Claims Act ... waivcs thc Statc's immunity from tort liability in ccrtain cases. but

requires that a claim first bc tilcd within a designatcd time period with the State Treasurcr as a

prerequisite to initiating a lawsuit against the Statc:)         Plaintiffs do not dispute that they failed to

make timely notiticationto       the Treasurer but instead arguc that they "substantially complied"


was directly involved in subduing [Thomas]:' ECF No. 51 at 8. such facts arc not alleged in the Complaint.
Regardless. the claims against any additional un-named MSP officers must be dismissed for the same reasons that
these claims are dismissed against the individual County police ofiicers who have joined the Illotions to dismiss
herein.




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with the requirements of the MTCA or. alternatively. that the State of Maryland had m:tuai or

constructive notice of their claim. ECF No. 51 at 5-9. However. Plaintiffs also failed to make

this argument in a timely manner. Pursuant to Local Rule I05(2)(a). Plaintiffs had fourteen days

to respond to the State of Maryland's Motion to Dismiss. tiled on October 13.2017. ECF No. 45.

Plaintiffs' Opposition. ECF No. 51. was tiled on November 2. 2017. approximately one week

late. The State of Maryland moves to strike Plaintiffs' Opposition as untimely. lOCI'No. 56. to

which Plaintiffs have not replied. Having received no request for leave of court to excuse the late

filing. or an explanation for the late filing. the Court will strike Plaintiffs' Opposition9

         Third. Plaintiffs do not state a viable claim against the MSP. Governor Hogan. or Col.

Pallozzi. The MSP is a principal department of the State Govcrnmcnt. Md. Code. Pub. Safety.

~ 2-20 I. and a suit against the MSP is a suit against thc State itself: As such. MSP lacks thc

capacity to be sued. See Owens ". Baltimore Cily Stllie '.\'Ally's Office .. 767 F.3d 379. 393 (4th

Cir. 2014) (citing Boyer      1'.   Siale. 323 Md. 558.594 n.1 (1991 )). And like the County Pol icc

Chiefs, state personnel are immune from liability for tortious conduct committed within the

scope of their public duties without malice or gross negligence. Md. Code Cts. & .Iud. Proc. ~ 5-

522(b). This immunity applies to both intentional torts and constitutional torts. See I.ee ". Cline.

384 Md. 245. 257 (2004). The Complaint does not attribute any acts or omissions to either

Governor I-logan or Col. Pallozzi suggestive of an act of malice or gross negligence necessary to

ovcrcome immunity. or even personal knowledge or involvement with the circumstances

surrounding Plaintiffs' arrest. As such. claims against these officials in their individual capacities

must be dismissed. To the extent that they are sued in their official capacities. those claims are

again duplicative with those against the State of Maryland and must also be dismissed.


<)Even if the Court accepts Plaintiffs' untimely Opposition. the Court will not excuse Plaintiffs' f..lilurc 10 make a
timely notification under the MTCA. Plaintiffs have not identified any case la\\/ whereby a Maryland court has
applied the doctrine of substantial compliance to excuse an untimely notification made under the MTCA or allowed
a plaintilTto rely 011 constructive notification in lieu of complying \\'ith the MTCA.
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IV.    CONCLUSION

       For the foregoing reasons, Howard and Anne Arundel Counties' motions to dismiss, ECF

Nos. 29, 30, 31, 35, shall be granted, in part, and denied, in part. Prince George's County's

Motion to Dismiss, ECF No. 36. shall be denied as moot. The State of Maryland's Motion to

Dismiss, ECF No. 45, and Motion to Strike Plaintiff s Opposition brief as time-barred. ECF No.

56, shall be granted. A separate Order follows.



Dated: December   Zp 2017
                                                              GEORGE J. HAZEL
                                                              United States District Judge




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